
46 So. 3d 1079 (2010)
Ajalin WYNN, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-3180.
District Court of Appeal of Florida, First District.
October 25, 2010.
Ajalin Wynn, pro se, Petitioner.
Bill McCollum, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the order rendered on or about January 25, 2010, denying petitioner's motion for postconviction relief in Clay County Circuit Court case number 10-2007-CF-701, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal in accordance with Florida Rule of Appellate Procedure 9.141(c)(5)(D).
WEBSTER, LEWIS, and MARSTILLER, JJ., concur.
